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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :      Case No:
                                              :
               v.                             :
                                              :      VIOLATIONS:
                                              :
MELODY STEELE-SMITH                           :      18 U.S.C. § 1752(a)
                                              :      (Restricted Building or Grounds)
               Defendant.                     :
                                              :      40 U.S.C. § 5104(e)(2)
                                              :      (Violent Entry or Disorderly Conduct)

               AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
                           AND ARREST WARRANT

       I, Jonathan Fugitt, Special Agent with the Federal Bureau of Investigation (“FBI”),

being duly sworn, deposes and states under penalty of perjury that the following is true to the

best of my information, knowledge and belief.

                                  PURPOSE OF AFFIDAVIT

       1.      This Affidavit is submitted in support of a Criminal Complaint charging

MELODY STEELE-SMITH (“STEELE-SMITH”) with violations of 18 U.S.C. § 1752(a) and 40

U.S.C. § 5104(e)(2). I respectfully submit that this Affidavit establishes probable cause to

believe that STEELE-SMITH (1) did knowingly enter or remain in any restricted building or

grounds without lawful authority, or did knowingly, and with intent to impede or disrupt the

orderly conduct of Government business or official functions, engage in disorderly or disruptive

conduct, and (2) did willfully and knowingly engage in disorderly or disruptive conduct, at any

place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or

disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly

conduct in that building of any deliberations of either House of Congress. Specifically, on or
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about January 6, 2021, STEELE-SMITH traveled to Washington, D.C., and knowingly and

willfully joined a crowd of individuals who forcibly entered the U.S. Capitol and impeded,

disrupted, and disturbed the orderly conduct of business by the United States House of

Representatives and the United States Senate.

                                    AGENT BACKGROUND

       2.       I am a duly appointed Special Agent (“SA”) with the Federal Bureau of

Investigation (“FBI”) and have been employed in this position since January of 2017. I am

currently assigned to the Washington, D.C. Cross Borders Task Force, which is a squad that

investigates violent gangs and drug trafficking and is located at the Washington, D.C. Field

Office (“WFO”) of the FBI. I have been assigned to this squad since June, 2017. As part of my

duties as an FBI Special Agent, I investigate criminal violations relating to narcotics trafficking,

firearms trafficking, violent incidents, and gang related matters. These violations can include the

use of violence, committing violence, or attempting to commit violence in support of narcotics

trafficking, firearms trafficking, and/or gang related matters. In addition, these violations can

include conspiracy to traffic narcotics and/or firearms.

       3.      I am one of the agents assigned to an ongoing investigation of riots and civil

disorder that occurred on January 6, 2021, in and around the United States Capitol grounds by

the FBI, United States Capitol Police (“USCP”), Metropolitan Police Department (“MPD”) and

other law enforcement agencies. Since I became involved in this investigation on January 6,

2021, I have conducted interviews, reviewed public tips, reviewed publicly available photos and

video, and reviewed relevant documents, among other things.

       4.      The facts in this affidavit come from my review of the evidence, my personal

observations, my training and experience, and information obtained from other agents and
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witnesses. Except as explicitly set forth below, I have not distinguished in this affidavit between

facts of which I have personal knowledge and facts of which I have hearsay knowledge. This

affidavit is intended to show simply that there is sufficient probable cause for the requested arrest

warrant and does not set forth all of my knowledge about this matter.

                                         BACKGROUND
       5.      On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, located at First Street Southeast, Washington, District of Columbia.

During the joint session, elected members of the United States House of Representatives and

Senate met in the United States Capitol to certify the vote count of the Electoral College for the

2020 Presidential Election, which took place on November 3, 2020.

       6.      The U.S. Capitol is secured 24 hours a day by security barriers and USCP occupy

various posts throughout the grounds. Restrictions around the U.S. Capitol include permanent

and temporary security barriers and posts manned by USCP. USCP officers wore uniforms with

clearly marked police patches, insignia, badges, and other law enforcement equipment. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol. On

January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of the public.

       7.      The January 6, 2021 joint session began at approximately 1:00 p.m. Shortly

thereafter, by approximately 1:30 p.m., the House and Senate adjourned to separate chambers to

resolve a particular objection. Vice President Michael R. Pence was present and presiding, first

in the joint session, and then in the Senate chamber.

       8.      As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.

Capitol. As noted above, temporary and permanent barricades were in place around the exterior

of the U.S. Capitol building and USCP were present, attempting to keep the crowd away from
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the Capitol building and the proceedings underway inside. As the certification proceedings were

underway, the exterior doors and windows of the Capitol were locked or otherwise secured.

       9.      At approximately 2:00 p.m., certain individuals in the crowd forced their way

through, up, and over the barricades, and past officers of the USCP, and the crowd advanced to

the exterior façade of the building. The crowd was not lawfully authorized to enter or remain in

the building and, prior to entering the building, no members of the crowd submitted to security

screenings or weapons checks by the USCP or other authorized security officials.

       10.     A short time later, at approximately 2:20 p.m., members of the United States

House of Representatives and United States Senate, including the President of the Senate, Vice

President Pence, were instructed to—and did—evacuate the chambers. As such, all proceedings

of the United States Congress, including the joint session, was effectively suspended until shortly

after 8:00 p.m. the same day. In light of the dangerous circumstances caused by the unlawful

entry to the U.S. Capitol, including the danger posed by individuals who had entered the U.S.

Capitol without any security screening or weapons check, Congressional proceedings could not

resume until after every unauthorized occupant had left the U.S. Capitol, and the building had

been confirmed secured. The proceedings resumed at approximately 8:00 pm after the building

had been secured. Vice President Pence remained in the United States Capitol from the time he

was evacuated from the Senate Chamber until the sessions resumed.

       11.     During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of

violations of local and federal law, including scores of individuals inside the U.S. Capitol building

without authority to be there.
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                STATEMENT OF FACTS SUPPORTING PROBABLE CAUSE

       9.      On January 8, 2021, law enforcement received an online tip from Witness 1 stating

that STEELE-SMITH, whom Witness 1 identified by her full name, was involved in the riot at the

Capitol building on January 6, 2021, and that evidence could be found on her Facebook page,

melody.steelesmith (“Subject Account”). Witness 1 later identified STEELE-SMITH as the

individual in the white headband in Image 3 below. Witness 1 is a relative of STEELE-SMITH.

Law enforcement has confirmed this identification of STEELE-SMITH by comparing the

photograph identified by Witness 1 (and additional “selfies” posted by STEELE-SMITH to her

Facebook account) to STEELE-SMITH’s driver’s license picture and by having a law enforcement

agent see her in person while conducting surveillance at the known residence of STEELE-SMITH.

       10.     Law enforcement reviewed open source social media images posted on the Subject

Account under the caption "Nancy's Office." Image 1 was a collage that included: (1) an image of

photos sitting on a table of individuals who appear to be family members and friends, (2) an image

of a framed photo of Nancy Pelosi hanging on a wall, and (3) an image of three vertically aligned

framed photos hanging on the wall. The posted photos in Image 1 also depicted a coin rack on top

of a cabinet. In this photo, a partial reflection of the photographer can be seen in a picture frame

of a pen hanging above the cabinet. As circled in the images below, in the partial reflection, a white

fuzzy headband worn by the photographer can be seen. Additionally, there is a patch of lighter hair

on one side of the head of the photographer. In “selfie” photos and videos taken by STEELE-

SMITH, posted by her on her Facebook page while she was outside of the Capitol during the riot,

she is wearing a fuzzy white headband and has a patch of grey hair on one side of her head,

consistent with the reflection captured in the photo.
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       Image 1 and SELFIE POST:




       11.     Image 2 depicts a conversation captured on STEELE-SMITH’s Facebook page in

which STEELE-SMITH stated, "I was there. I'm trying to figure out how I could be there all day

and miss all this violence and destruction I'm seeing on tv. I think photos for the news were staged.

I hope they come for me my videos will show the peace and the lies on the news. We are all fools

for believing the government and the news on either side."
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       Image 2:




       12.    Image 3 depicts STEELE-SMITH wearing a red-orange jacket with a black collar

and a bright pink backpack.
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       13.     A review of online footage and photos of Nancy Pelosi’s office by law enforcement

agents confirms that the posted photos do indeed appear to be photos of her office.

       14.     Additional photos and posts to STEELE-SMITH’s Facebook account include a

post stating, “We’ve stormed the castle” and a photo of protestors apparently inside the Capitol,

as shown below.




       15.     It appears that all of these posts have now been deleted from the publically viewable

posts on the Subject Account.

       16.     Based on an initial review of surveillance cameras in the Capitol Building, law

enforcement identified a woman consistent with STEEL-SMITH’s appearance in the Facebook

photos above walking through the Senate hallway near Nancy Pelosi’s office, as pictured below in

Still 1 with the red arrow over the person believed to be STEELE-SMITH.          Law enforcement
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identified additional footage in other parts of the Capitol building, including footage in the North

Rotunda, as shown in Still 2 with another red arrow over the person believed to be STEELE-

SMITH. (The location of the second picture is consistent with another of the photos posted to the

SUBJECT ACCOUNT, as shown below.)

           Still 1:




Still 2:
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                                             CONCLUSION

        Based on the foregoing, your affiant submits that there is probable cause to believe that

STEELE-SMITH violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly

enter or remain in any restricted building or grounds without lawful authority to do; and (2)

knowingly, and with intent to impede or disrupt the orderly conduct of Government business or

official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any

restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the

orderly conduct of Government business or official functions; or attempts or conspires to do so.

For purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off,

or otherwise restricted area of a building or grounds where the President or other person protected

by the Secret Service, including the Vice President, is or will be temporarily visiting; or any

building or grounds so restricted in conjunction with an event designated as a special event of

national significance.


        Your affiant submits there is also probable cause to believe that STEELE-SMITH violated

40 U.S.C. § 5104(e)(2)(A), (C) and (G), which makes it a crime to willfully and knowingly (A)

enter or remain on the floor of either House of Congress or in any cloakroom or lobby adjacent to that floor,

in the Rayburn Room of the House of Representatives, or in the Marble Room of the Senate, unless

authorized to do so pursuant to rules adopted, or an authorization given, by that House; (C) with the intent

to disrupt the orderly conduct of official business, enter or remain in a room in any of the Capitol

Buildings set aside or designated for the use of— (i) either House of Congress or a Member,

committee, officer, or employee of Congress, or either House of Congress; or (ii) the Library of

Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.
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                                                            Respectfully Submitted,



                                                            _____________
                                                            Jonathan Fugitt
                                                            Special Agent
                                                            Federal Bureau of Investigation




Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by

telephone, this 19th day of January 2021.


                                                    ___________________________________

                                                    U.S. MAGISTRATE JUDGE
